                  Case 1:19-cr-00764-JB Document 25 Filed 05/01/19 Page 1 of 1
                                 UNITED STATES DISTRICT COURT 
                                    DISTRICT OF NEW MEXICO 
                          BEFORE THE HONORABLE BARBARA EVANS 
                                                 
                              CRIMINAL CLERK’S MINUTES at Roswell 
 
CASE NUMBER:    19‐CR‐764‐003‐JB      DATE: 5/1/2019                TAPE NUMBER: LCR‐ROSWELL 
       
CLERK: MICHELLE PETTIT             
 
TYPE OF HEARING: INITIAL PRESENTMENT 
 
DEFENDANT(S):                     ATTORNEY(S):                                                    Appt’d.    Ret’d. 
  Donald Charles Gibson                                                                                  ☐        ☐ 

Interpreter: 
Pretrial Officer present: Patrick Jennings 
Court in Session: 3:15A.M. to 3:30 A.M. (15 MINS) 
 
☒      Defendant was given/read a copy of charging document 
 
☐      Agent sworn in OPEN COURT 
 
☒      Court questions Defendant regarding his/her physical and mental conditions, address, DOB, 
       education     
 
☒      Court advises defendant(s) of possible penalties 
 
☒      Court advises defendant(s) of all constitutional rights 
 
☐      ORAL Motion for detention Hearing by Government   
 
☐      Court grants Government’s  ☐    Defense  ☐  oral motion to continue detention hearing 
 
☐      Waiver of preliminary hearing & right to grand jury presentment filed in open court 
 
☒      Defendant(s) in custody 
 
☐      Defendant(s) detained without bond as:    Risk of Flight  ☐  Danger to Community  ☐ 
 
☐      Conditions of Release set at:   
 
☒      Other: ARRAIGNMENT / DETENTION HEARING IN ALBUQUERQUE ON WEDNESDAY, 
MAY 8, 2019AT 9:30 A.M. BEFORE JUDGE YARBROUGH IN THE RIO GRANDE COURTROOM. 
